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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


DEVON BERNARD HARROD.

       Plaintiff,

v.
                                                            Case No. 18-2542-SAG
MAYOR AND CITY COUNCIL
BALTIMORE CITY, et al.

       Defendants.




              NOTICE OF WITHDRAWAL OF ATTORNEY APPEARANCE


       COMES NOW Roberto E. Alejandro, and hereby gives notice of his withdrawal as

counsel of record. The Plaintiff will continue to be represented by other counsel of record, Cary

J. Hansel, and Hansel Law, P.C.



                                            Respectfully submitted,


                                            __________/s/_Roberto Alejandro______
                                            Roberto E. Alejandro, Bar No. 21215
                                            Law Offices of Jay S. Marks, LLC
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                                            roberto@marksjustice.com
                                            Counsel for Plaintiffs
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of August, 2020, a copy of the foregoing

Notice of Withdrawal was electronically filed with e-service to all parties so entitled.


                                                              _______/s/ Roberto Alejandro_____
                                                              Roberto Alejandro
